                                         Case 4:19-cv-00054-YGR Document 160 Filed 10/26/20 Page 1 of 2




                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4                                                        Case No. 4:19-cv-00054-YGR
                                   5     JAMES FABIAN,
                                                                                            ORDER: (1) GRANTING MOTION TO
                                   6                   Plaintiff,                           WITHDRAW PLAINTIFF JAMES FABIAN AND
                                                                                            MOTION FOR CLASS CERTIFICATION
                                   7             vs.                                        WITHOUT PREJUDICE; (2) DEEMING
                                                                                            WITHDRAWN MOTION FOR CLASS
                                   8     COLIN LEMAHIEU, ET. AL.,                           CERTIFICATION; AND (3) GRANTING IN
                                                                                            PART MOTION TO INTERVENE, LEAVE TO
                                   9                   Defendants.                          FILE A SECOND AMENDED COMPLAINT,
                                                                                            LEAVE TO AMEND THE CAPTION, AND
                                  10                                                        LEAVE TO FILE A RENEWED MOTION FOR
                                                                                            CLASS CERTIFICATION
                                  11

                                  12                                                        Re: Dkt. Nos. 144, 150, 151
Northern District of California
 United States District Court




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                                  14          Pending before the Court is plaintiff James Fabian’s motion to withdraw without prejudice
                                  15   himself and the motion for class certification, and the motion to intervene, leave to file a second
                                  16   amended complaint, to amend the caption, and to file a renewed motion for class certification,
                                  17   brought by intervenors Craig Clemens, Anan Thamarnan, Alec Otto, Kyle Penn, James Supple,
                                  18   Michael Migliero, Peter Dedes, Jesse Case, Michael Oliver, Robert Ireland, Edward Seimon,
                                  19   Matthew Battistini, and Kadeem Blanchard.
                                  20          Having considered the parties’ briefing, oral argument on October 13, 2020, and for good
                                  21   cause showing including the reasons stated on the record, the Court GRANTS the motion to
                                  22   withdraw, DEEMS WITHDRAWN the pending motion for class certification, and GRANTS IN PART
                                  23   and DENIES IN PART the motion to intervene:
                                  24      1. Plaintiff Fabian will be allowed to withdraw without prejudice to remaining a putative
                                  25          class member.
                                  26      2. The current pending motion for class certification is withdrawn without prejudice.
                                  27      3. Intervenor Alec Otto—selected by the intervenors and Fabian as the named plaintiff (Dkt.
                                  28          No. 159)—will be allowed to substitute as plaintiff in lieu of plaintiff Fabian. The request
                                         Case 4:19-cv-00054-YGR Document 160 Filed 10/26/20 Page 2 of 2




                                   1         by all others is otherwise denied.

                                   2      4. The request for leave to file a second amended complaint is denied given the nature of the

                                   3         allegations and its untimeliness relative to the progress of the case. However, given the

                                   4         change in named plaintiff, pursuant to Federal Rule of Civil Procedure 15(d), plaintiff Otto

                                   5         shall file within seven days of this Order a supplement to the complaint to provide new

                                   6         allegations parallel to paragraphs 183 to 196 of the operative complaint setting forth the

                                   7         details of Intervenor Otto’s transactions in a manner similar to that of plaintiff Fabian. No

                                   8         other amendments shall be allowed. Defendants shall answer such supplemental

                                   9         allegations within seven days of the filing of the supplement.

                                  10      5. Within seven days of the filing of defendants’ response, the parties shall jointly file a

                                  11         proposed schedule resetting the deadlines in this matter permitting fact discovery of Otto,

                                  12         as well as the briefing schedule on an anticipated renewed motion for class certification.
Northern District of California
 United States District Court




                                  13         This Order Terminates Docket Numbers 144, 150, and 151.

                                  14         IT IS SO ORDERED.

                                  15   Dated: October 26, 2020
                                                                                               YVONNE GONZALEZ ROGERS
                                  16                                                          UNITED STATES DISTRICT JUDGE
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